 Case 2:12-cr-00084-APG-GWF     Document 214   Filed 03/05/14   Page 1 of 2



 1
 2                      UNITED STATES DISTRICT COURT
 3
                                DISTRICT OF NEVADA
 4
                                       * * *
 5
 6   UNITED STATES OF AMERICA,             )
                                           )
 7                 Plaintiff,              )
                                           )         2:12-cr-84-APG-GWF-3
 8   v.                                    )
                                           )                O R D E R
 9
     ROGER GRODESKY,                       )
10                                         )
                                           )
11                                         )
                   Defendant.              )
12                                         )

13
14        On February 20, 2014, this matter came before the Court for
15   hearing on the Petition for action on the defendant's conditions of
16   pretrial release (#179).      The defendant was present with counsel.
17        The defendant did not contest the allegations and consented to
18   detention pending sentencing. The defendant also entered a plea of
19   guilty to the charges set forth in the Superseding Information.
20        The Court has considered the information offered by the

21   Government, defendant’s admission that he has violated his terms of

22   release and also his consent and request for detention, and finds

23   as follows:

24        There is clear and convincing evidence that the defendant has

25   violated his condition(s) of release; and

26        The defendant has entered a plea of guilty. Therefore, the

27   burden is on him to prove he is not a danger to the community, a

28   flight risk, and/or is likely to abide by conditions of release.
 Case 2:12-cr-00084-APG-GWF   Document 214   Filed 03/05/14   Page 2 of 2



 1        ACCORDINGLY, IT IS THEREFORE ORDERED pursuant to the provisions
 2   of 18 U.S.C. § 3148 that the release order heretofore entered on
 3   April 11, 2012 is hereby revoked.
 4        IT IS FURTHER ORDERED that the defendant shall be detained
 5   pending Sentencing.
 6
 7   DATED this 20th   day of February, 2014.
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10                                  ANDREW P. GORDON
                                    UNITED STATES DISTRICT JUDGE
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